Case 1:22-cv-00054-BKS-CFH Document1 Filed.01/21/22 Page 1 of 4

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

) riaA
Shawn Fya9 woe Plaintiff(s) ) Civil Case No: |‘ 2) -Cr OH
)
vs. ) CIVIL
\ \n Do? i ) RIGHTS (BK | cet)
Oo ) COMPLAINT
Defendant(s) ) PURSUANT TO

42 U.S.C. § 1983

 

ee

Plaintiff(s) demand(s) a trial by: BD JURY ©. COURT (Select only one).

 

 

 

 

Plaintiff(s) in the above-captioned action, allege(s) as follows:

JURISDICTION
i This is a civil action seeking relief and/or damages to defend and protect the rights
guaranteed by the Constitution of the United States. This action is brought pursuant to 42
U.S.C. § 1983. The Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,
1343(3) and (4) and 2201.

| PARTIES
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9. < Plaintite: “LN Taearove

Address: a nd AC
Lwottatterd UY lee

 

Additional Plaintiffs may be added on a separate sheet of paper.

3: a. Defendant: J \ Y) \D © eC

Official Position:

 

Address:

 

 

 
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b. Defendant:

 

Official Position:

 

Address:

 

 

 

C. Defendant:

 

Official Position:

 

Address:

 

 

 

Additional Defendants may be added on a separate sheet of paper.

4. FACTS

Set forth the facts of your case which substantiate your claim of violation of your civil

and/or Constitutional rights. List the events in the order they happened, naming defendants
involved, dates and places.

Note: You must include allegations of wrongful conduct as to EACH and EVERY

defendant in your a“ t. ((You may use additional sheets as necessary).

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B: CAUSES OF ACTION

Note: You must clearly state each cause of action you assert in this lawsuit.

FIRST CAUSE OF ACTION

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MS ee

 

 

 

SECOND CAUSE OF ACTION

 

 

 

 

 

THIRD CAUSE OF ACTION

 

 

 

 

 
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6. PRAYER FOR RELIEF
WHEREFORE, plaintiff(s) request(s) that this Court grant the following relief:
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eaugy we aud Det endaits L weld ale
We av Wnng| Muetinaken d ane Wl) sfrcbE
ViVM an U

I declare under penalty of perjury that the foregoing is true and correct.

DATED: Kol-.
Ha |

Signature of Plaintiff(s)
(all Plaintiffs must sign)

 

 

 

 

 

02/2010
